Case 08-14631-GMB       Doc 317    Filed 05/21/08 Entered 05/21/08 13:15:20           Desc Main
                                  Document     Page 1 of 3



    LECLAIRRYAN
    A Virginia Professional Corporation

    David W. Phillips, Esq. (DP 2099)
    Todd A. Galante, Esq.
    Two Penn Plaza East
    Newark, New Jersey 07105
    Telephone: (973) 491-3600
    Facsimile: (973) 491-3555

    William E. Callahan, Esq.
    1800 Wachovia Tower, Drawer 1200
    Roanoke, Virginia 24006
    Telephone: (540) 777-3068
    Facsimile: (540) 510-3050

    Counsel for De Lage Landen Financial Services, Inc.


                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY


    In re:                                              :       Chapter 11
                                                        :
    SHAPES/ARCH HOLDINGS, LLC, et al.,                  :       Case No. 08-14631 (GMB)
                                                        :       (Jointly Administered)
             Debtors.                                   :
                                                        :       Hearing Date:
                                                                June 16, 2008 at 10:00 a.m.

                            NOTICE OF MOTION
              OF DE LAGE LANDEN FINANCIAL SERVICES, INC.
         FOR AN ORDER (1) GRANTING RELIEF FROM THE AUTOMATIC
      STAY PROVISIONS OF 11 U.S.C. § 362(a) AND (2) COMPELLING DEBTORS
     TO ASSUME OR REJECT UNEXPIRED LEASES OF PERSONAL PROPERTY

             PLEASE TAKE NOTICE that De Lage Landen Financial Services, Inc. (“De

    Lage Landen”), by and through its counsel, LeclairRyan, a Virginia Professional

    Corporation, has filed a motion seeking entry of an Order granting relief from the

    automatic stay provisions of 11 U.S.C. § 362(a) and compelling the Debtors to assume or

    reject certain unexpired leases of personal property (the “Motion”).
Case 08-14631-GMB        Doc 317    Filed 05/21/08 Entered 05/21/08 13:15:20              Desc Main
                                   Document     Page 2 of 3



           Your rights may be affected. You should read these papers carefully and

    discuss them with your attorney, if you have one in this case. (If you do not have an

    attorney, you may wish to consult one.)

           If you do not want the Court to grant the relief requested by the Movant, or if you

    want the Court to consider your views on the Motion, then on or before June 6, 2008, you

    or your attorney must:

           File with the Court an answer explaining your position at: Clerk, U.S.

    Bankruptcy Court, 400 Cooper Avenue, Camden, New Jersey 08101. If you mail your

    response to the Court for filing, you must mail it early enough so the Court will receive it

    on or before the date stated above. You must also mail a copy to: David W. Phillips,

    Esq., LECLAIRRYAN, Two Penn Plaza East, Newark, New Jersey 07105; and

           Attend a hearing scheduled to be held on June 16, 2008, at 10:00 a.m. in

    Courtroom 4C, United States Bankruptcy Court, 400 Cooper Avenue, 4th Floor, Camden,

    New Jersey 08101.

           If you or your attorney do not take these steps, the Court may decide that you do

    not oppose the relief sought in the Motion and may enter an order granting that relief.


    Dated: May 21, 2008                   LECLAIRRYAN
                                          A Virginia Professional Corporation
                                          Counsel for De Lage Landen
                                                 Financial Services, Inc.


                                          By:    /s/
                                                 David W. Phillips, Esq. (DP 2099)
                                                 Todd A. Galante, Esq.
                                                 Two Penn Plaza East
                                                 Newark, New Jersey 07105
                                                 Telephone: (973) 491-3600
                                                 Facsimile: (973) 491-3555
                                                -2-
Case 08-14631-GMB   Doc 317    Filed 05/21/08 Entered 05/21/08 13:15:20     Desc Main
                              Document     Page 3 of 3




                                         William E. Callahan, Esq.
                                         1800 Wachovia Tower, Drawer 1200
                                         Roanoke, Virginia 24006
                                         Telephone: (540) 777-3068
                                         Facsimile: (540) 510-3050




                                       -3-
